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                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                            Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                Defendant.



                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                          RENEWED MOTION TO DISMISS

       The United States of America, by and through undersigned counsel, respectfully opposes

the renewed motion of defendant Concord Management and Consulting LLC to dismiss Count

One of the Indictment. Concord’s revised motion amounts to nothing more than a collection of

arguments that this Court has already rejected, this time stitched together and repackaged as a due

process claim. This Court has already properly rejected Concord’s challenges to the propriety of

the Special Counsel’s investigation, the decision to charge Concord, and the mens rea alleged in

the Indictment, and Concord’s renewed motion does not offer any persuasive reason to revisit these

decisions. Accordingly, Concord’s renewed motion to dismiss should be denied.

                                  FACTUAL BACKGROUND

       A. The Indictment

       On February 16, 2018, a grand jury returned an eight-count, thirty-seven-page Indictment

against thirteen individuals and three corporate defendants. The Indictment alleges that the

defendants engaged in a multi-year conspiracy, operating out of Russia, to defraud the United

States by impairing, obstructing, and defeating the lawful functions of the government, through

fraud and deceit, for the purpose of interfering with the U.S. political and electoral processes. Doc.


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1 ¶¶ 1–7. The conspiracy included a Russian organization, defendant Internet Research Agency

LLC (the “Organization”), that conducted what it called “information warfare” against the United

States to spread “distrust towards the candidates” in the 2016 election and “the political system in

general” and to favor one candidate for President. Id. ¶¶ 3, 6, 10. The Indictment further alleges

that defendant Yevgeniy Viktorovich Prigozhin approved, supported, and funded the

Organization’s operations through other entities that he directly controls, particularly defendant

Concord Management and a second entity, defendant Concord Catering. Id. ¶¶ 3, 11-12. Concord

“was the Organization’s primary source of funding for its interference operations.” Id. ¶ 11.

Concord also “controlled funding, recommended personnel, and oversaw the Organization’s

activities through reporting and interaction with Organization management.” Id. Among other

things, when the defendants began in or around 2015 to purchase social media advertisements,

spending thousands of dollars each month, “[t]hese expenditures were included in the budgets that

the Organization submitted to Concord.” Id. ¶ 35.

        To carry out their interference activities without detection of their Russian affiliation, the

Indictment charges that the defendants “knowingly and intentionally” conspired to obstruct the

lawful functions of the Federal Election Commission, the Department of Justice, and the

Department of State. Doc. 1 ¶¶ 7, 9. The Indictment further alleges that the defendants used a

host of deceptive means to impede these entities’ functions, including surreptitious intelligence

gathering in the United States by foreign agents, influence operations conducted through false

online personas, and fraudulent visa applications for entry to the United States. Id. ¶¶ 10–11; see,

e.g., id. ¶¶ 5, 32-34, 36, 39, 40.




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       B. Concord’s Prior Motions

       This is not the first time that Concord has made the arguments contained in its current

motion. Rather, as discussed below, Concord’s latest motion to dismiss rehashes arguments that

Concord has previously raised and this Court has rejected.

       On June 25, 2018, Concord moved to dismiss the Indictment, arguing that the attorney who

signed the Indictment, Special Counsel Robert Mueller, III, was improperly appointed, that the

regulations governing Special Counsel were unlawful, and that the Special Counsel’s appointment

did not authorize the prosecution of Concord. Doc. 36; see Doc. 47 (government’s opposition);

Doc. 48 (Concord reply). On August 13, 2018, this Court denied Concord’s motion. Doc. 54

(order); Doc. 58 (memorandum opinion). The Court held, among other things, that the Special

Counsel was a properly appointed inferior officer in the Department of Justice and that the Special

Counsel had the authority to investigate and prosecute Concord.

       On July 16, 2018, Concord filed a further motion to dismiss, urging that the Indictment (1)

does not properly allege a conspiracy to defraud the United Sates in violation of 18 U.S.C.

§ 371; (2) fails to allege the mens rea necessary to support such an offense; (3) was

unconstitutionally vague; (4) violates the Due Process Clause by resting on a broad, novel, and

vague understanding of that crime; and (5) fails to allege a deprivation of government property.

Doc. 46; see Doc. 56 (government opposition); Doc. 62 (Concord reply); Doc. 69 (government

supplemental filing); Doc. 71 (Concord’s further response). On November 15, 2018, the Court

denied Concord’s motion. Doc. 73 (order); Doc. 74 (memorandum opinion). The Court held that

the Indictment adequately alleged all elements of a conspiracy to defraud the United States in

violation of 18 U.S.C. § 371, including the obstruction of particular lawful government functions

and the use of deceitful or dishonest means. The Court further held that the Indictment was not



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required to allege that Concord acted “willfully” because the mens rea required for this offense is

that the defendant acted “knowingly.” Finally, the Court held that the Indictment was not

unconstitutionally vague and that Supreme Court precedent did not require the government to

allege a deprivation of government property.

       On August 29, 2018, Concord sought discovery on a claim of selective prosecution based

on the Justice Department’s purported failure to prosecute other foreign nationals who had

allegedly engaged in election interference activities.       Doc. 61; see Doc. 63 (government

opposition); Doc. 65 (Concord reply). On October 16, 2018, the Court denied Concord’s motion.

Doc. 66. The Court held that Concord’s motion failed to make the requisite showing either that

similarly situated persons were treated differently or that the prosecution was motivated by

discriminatory intent.

       On January 22, 2019, Concord renewed its request for discovery on a claim of selective

prosecution based on a letter from the Justice Department’s Foreign Agents Registration Act

(“FARA”) Unit to a law firm. Doc. 93; see Doc. 100 (government opposition); Doc. 101 (Concord

reply). On February 13, 2019, the Court denied the motion. Doc. 102. The Court ruled that the

conduct described in the letter was “not similar in nature or scope to the conspiracy charged here,”

id. at 2, and therefore did not support a claim of selective prosecution.

       On April 25, 2019, Concord asked the Court to initiate criminal contempt proceedings

against the Attorney General and former Special Counsel, positing that the redacted Special

Counsel’s report and remarks by the Attorney General at a press conference and during testimony

to Congress violated a Local Rule concerning case-related public statements that pose a risk of

prejudice. Doc. 129; see Doc. 130 (government’s opposition); Doc. 131 (Concord’s reply); Doc.

134 (government’s supplemental filing); Doc. 139 (government’s further supplemental filing);



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Doc. 140 (Concord’s supplemental filing); Doc. 142 (Concord’s response to government’s further

supplemental filing); Doc. 143 (government’s response to Concord’s supplemental filing). The

Court concluded that the set of statements related to the Special Counsel’s report violated the local

rule, but that these were not “flagrant,” and were a “[g]ood faith pursuit of a plausible though

mistaken alternative.” Doc. 148, at 16. Among other things, the Court found that the Attorney

General was trying to comply with that rule, including through consultation with ethics experts,

and was also trying to keep the public informed of important matters. Id. at 15-17.

                                            ARGUMENT

       Concord’s renewed motion to dismiss consists almost entirely of arguments that this Court

has already rejected, and Concord does not provide any sound basis for the Court ro reconsider

them. In any event, Concord’s arguments are without merit. This prosecution does not (as

Concord contends) violate the Due Process Clause, and the government is not required to allege

or to prove that Concord acted willfully.

I.     Concord Provides No Basis for The Court To Reconsider Its Prior Decisions

       Concord contends that the Indictment should be dismissed because it was brought by the

Special Counsel, Doc. 210, at 26; because it charges a conspiracy to defraud the United States that

relates to possible violations of FARA and the Federal Election Campaign Act (“FECA”), id. at

26-27; because the Attorney General and Special Counsel made certain public statements relating

to this Indictment, id. at 27-28; because the government’s charging theory has assertedly shifted,

id. at 28-30; and because the Indictment does not allege willfulness, id. at 27, 31-45. The Court

has already considered and rejected these arguments. Although Concord has, in places, relabeled

some of these arguments, these are all issues that Concord raised in its prior motions to dismiss,

motions for discovery on selective prosecution, and motion for contempt or other sanctions, among



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others. (Concord has raised the contention that government’s theories have changed in a number

of other motions as well. See, e.g., Doc. 181, at 4-6, 7 n.5, 24.)

          While the Federal Rules of Criminal Procedure do not explicitly provide for motions for

reconsideration of interlocutory orders, the Court has applied the Federal Rules of Civil Procedure

to such motions, granting reconsideration if “justice requires.” See, e.g., United States v. Lieu, No.

17-cr-50, 2018 WL 5045335, at *2 (D.D.C. Oct. 17, 2018) (citing United States v. Hassanshahi,

145 F. Supp. 3d 75, 80 (D.D.C. 2015)); United States v. Slough, 61 F. Supp. 3d 103, 107 (D.D.C.

2014). Whether “justice requires” reconsideration generally depends on whether the Court has

“‘patently misunderstood a party, has made a decision outside the adversarial issues presented to

the Court by the parties, has made an error not out of reasoning but out of apprehension, or where

a controlling or significant change in the law or facts [has occurred] since the submission of the

issue to the Court.’” Lieu, 2018 WL 5045335, at *3 (quoting Singh v. George Washington Univ.,

383 F. Supp. 2d 99, 101 (D.D.C. 2005)); see also United States v. Hemingway, 930 F. Supp. 2d

11, 12-13 (D.D.C. 2013); Slough, 61 F. Supp. 3d at 108. Ultimately, “[t]he burden is on the

moving party to show that reconsideration is appropriate and that harm or injustice would result if

reconsideration were denied.” Hemingway, 930 F. Supp. 2d at 13.

          Concord provides no sound reason for the Court to reconsider its prior decisions on these

issues.     The Court understood Concord’s arguments and based its decisions on careful

consideration of the parties’ submissions and applicable law and fact. And as discussed below,

Concord’s assertedly new arguments are neither new nor correct. Concord has instead merely

repackaged its prior arguments, by citing entirely inapplicable cases and attaching the label “due

process” to each of its arguments. (Even the due process label is not entirely new: Concord framed

some of the same arguments in due process terms in its July 16, 2018 motion to dismiss. See Doc.



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46, at 12, 14-15, 28, 38-41.) And Concord provides no explanation for why adding this label

warrants reconsideration of a number of issues that the Court has already passed upon.

II.    Concord’s Arguments Lack Merit

       A. No Basis Exists For Reconsidering The Claims That Form The Basis Of
          Concord’s Due Process Argument

       Concord dresses up in due process garb a list of arguments that this Court has previously

rejected and declares that they amount to an “Arbitrary Prosecution” that violates the Due Process

Clause. Doc. 210, at 22-31. This newly-discovered due process theory is misguided, and each of

the individual claims that Concord places under that header is baseless.

       1. As a threshold matter, Concord’s due process argument lacks merit. Concord cites no

case, and the government is aware of none, where a party transformed a list of arguments like those

that Concord repeats here into a singular violation of the Due Process Clause. Concord concedes

the absence of case law supporting its theory but posits that is because “there has never been a case

like this before.” Doc. 210, at 30-31. Concord, however, is not the first criminal defendant to

raise myriad allegations of misconduct. And to the extent that some of Concord’s allegations are

unusual, such as those that concern the particular charging theory in this case or the Attorney

General’s testimony to Congress about the matters alleged here, that is because the defendants’

conduct alleged in this case is itself unusual. See Doc. 66, at 2-3 (noting the absence of other cases

that are similar to the conspiracy alleged here). Concord also does not explain, even as a matter

of primary principles or by analogy to other areas of due process law, why its list of assertedly

“arbitrary” actions would violate that clause. Indeed, it is not even entirely clear if Concord’s

argument sounds in substantive or procedural due process. While Concord quotes and cites a

number of due process cases (Doc. 210, at 22-25), these are nothing more than a series of unrelated




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cases, some of which do not even concern due process at all, that address burdens of proof, judicial

bias, Brady, public trial rights, vagueness, prosecutorial self-interest, and selective prosecution. 1

       2. In all events, Concord’s due process argument is nothing more than a repackaging of

claims that this Court has already rejected, and Concord’s motion to dismiss provides no sound

reason for the Court to reconsider those decisions.

       a. Concord declares (Doc. 210, at 26) that its prosecution is unconstitutionally “arbitrary”

because the Indictment was obtained by the Special Counsel, “who justified his appointment on

the basis of a pretextual ‘conflict of interest’ that later disappeared without explanation.” Doc.

210, at 26. This appears to be a reference to the provision in the Special Counsel regulation

authorizing appointment of a special counsel where there is “a conflict of interest for the



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          See Daniels v. Williams, 474 U.S. 327 (1986) (civil suit for negligence by prison guard);
Wolff v. McDonnell, 418 U.S. 539 (1974) (civil suit about procedures in prison disciplinary
proceedings); Champion Lumber Co. v. Fisher, 227 U.S. 445 (1913) (mandamus petition seeking
land patent); Rivera v. Minnich, 483 U.S. 574 (1987) (burden of proof for determining paternity);
Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009) (standard for judicial recusal given risk of
bias created by campaign contribution); Williams v. Pennsylvania, 136 S. Ct. 1899 (2016)
(appellate judge reviewing his own prior decision as trial judge); Tumey v. Ohio, 273 U.S. 510
(1927) (judge with pecuniary interest in the case); Marinello v. United States, 138 S. Ct. 1101
(2018) (interpreting required nexus between tax obstruction and tax-related proceeding); Strickler
v. Greene, 527 U.S. 263 (1999) (applying Brady v. Maryland, 373 U.S. 83 (1963) to particular
facts); Berger v. United States, 295 U.S. 78 (1935) (intemperate and misleading representations by
the prosecutor during cross-examinations and closing argument); Gannett Co. v. DePasquale, 443
U.S. 368, (1979) (Sixth Amendment public trial right); Smith v. Goguen, 415 U.S. 566 (1974)
(applying vagueness doctrine to flag desecration statute); Sessions v. Dimaya, 138 S. Ct. 1204
(2018) (applying vagueness doctrine to provision of immigration law); Johnson v. United States,
135 S. Ct. 2551 (2015) (applying vagueness doctrine to residual clause of Armed Career Criminal
Act); Giaccio v. Pennsylvania, 382 U.S. 399 (1966) (applying vagueness doctrine to statute
authorizing order that acquitted defendants pay costs of trial); Young v. U.S. ex rel. Vuitton et Fils
S.A., 481 U.S. 787 (1987) (plurality op.) (private attorney appointed to prosecute criminal
contempt cannot have conflicting, personal interest); Marshall v. Jerrico, Inc., 446 U.S. 238,
(1980) (applying more flexible understanding of bias to administrative official acting in a
prosecutorial capacity than one acting in a quasi-judicial capacity); Wayte v. United States, 470
U.S. 598 (1985) (explaining how the Equal Protection Clause applies to claims of selective
prosecution).

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Department or other extraordinary circumstances.” 28 C.F.R. § 600.1. This is the same argument

that Concord raised in its June 25, 2018 motion about the Special Counsel’s authority (Doc. 36, at

46), and that this Court rejected (Doc. 58, at 38-40).

       As the Court explained, “the Special Counsel regulations do not create judicially

enforceable rights.” Doc. 58, at 39 (citing United States v. Manafort, 312 F. Supp. 3d 60, 75-79

(D.D.C. 2018), and United States v. Manafort, 321 F. Supp. 3d 640, 655-658 (E.D. Va. 2018));

see In re Grand Jury Subpoena, 438 F.3d 1141, 1152-1153 (D.C. Cir. 2005); United States v.

Blackley, 167 F.3d 543, 548-549 (D.C. Cir. 1999); see also United States v. Caceres, 440 U.S.

741, 749-754 (1979). This Court has similarly ruled that the appointment of a Special Counsel to

investigate Russian election interference does not constitute evidence of discriminatory intent with

respect to Concord. Doc. 66, at 3. Concord’s motion does not even attempt to explain why this

exercise of the Acting Attorney General’s statutory authority or his application of the Special

Counsel regulation could amount to a due process violation.

       In any event, contrary to Concord’s assertion, the Special Counsel did not “justif[y] his

appointment on the basis of a pretextual ‘conflict of interest.’” The Acting Attorney General

appointed the Special Counsel and chose to apply the Special Counsel regulations. Concord

provides no basis for its assertion of “pretext.” And this Court correctly held (Doc. 58, at 39-40)

that the Special Counsel’s decision to bring this case is fully consistent with that regulation’s

reference to conflicts of interest. Section 600.1’s “[g]rounds for appointing a Special Counsel”

are not defendant-specific. Rather, the Acting Attorney General “will appoint a Special Counsel

when he or she determines that criminal investigation of a person or matter is warranted,” when

“investigation or prosecution of that person or matter . . . would present a conflict of interest for

the Department or other extraordinary circumstances,” and where “it would be in the public interest



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to appoint an outside Special Counsel to assume responsibility for the matter.” 28 C.F.R. § 600.1

(emphases added). Here, the core “matter” to be investigated was Russian interference in the

election, including links and/or coordination to individuals associated with the Trump Campaign.

See Appointment Order (introduction); id. ¶ (b). After “[c]onsidering the unique circumstances of

this matter,” the Acting Attorney General determined that “a Special Counsel is necessary in order

for the American people to have full confidence in the outcome.” Press Release, Appointment of

Special Counsel (May 17, 2017), available at https://www.justice.gov/ opa/pr/appointment-

special-counsel.

       b. Concord next contends (Doc. 210, at 26-27) that its prosecution violates due process

because the government “framed the indictment in defraud-clause language for the purpose of

cloaking an actual charge of conspiracy to violate FECA and FARA and, as such, the Court should

view the indictment as a conspiracy to violate FARA and FECA.” Initially, Concord’s request

that the Court “view this indictment as a conspiracy to violate FARA and FECA” is disconnected

from its assertedly new argument that the decision how to charge this case violates the Due Process

Clause and requires dismissal.

       To the extent that Concord is again asking the Court to borrow a willfulness requirement

from those statutes or to change the Indictment into one alleging a conspiracy to violate those two

statutes, the Court has correctly rejected those contentions. The Court correctly explained that

“courts have repeatedly rejected requests, like Concord’s, to borrow willfulness requirements from

related substantive statutes even when the defraud conspiracy is premised on interfering with an

agency’s administration of those statutes.” Doc. 74, at 19. As the Court also recognized (id. at

19-20 & n.7), it is black letter law that “[t]he fact that the [alleged] events include” conduct that




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violates another criminal statute “does not, in and of itself, make the conspiracy-to-defraud clause

of § 371 unavailable to the prosecution.” Dennis v. United States, 384 U.S. 855, 862-863 (1966).

       To the extent that Concord suggests that the decision to charge this case as a conspiracy to

defraud the United States is “arbitrary” and violates the Due Process Clause, Concord does not

explain why that is so. The Supreme Court “has long recognized that when an act violates more

than one criminal statute, the Government may prosecute under either so long as it does not

discriminate against any class of defendants.” United States v. Batchelder, 442 U.S. 114, 124-125

(1979). Much as is the case when the government charges Klein conspiracies in other contexts,

there is a litany of legitimate reasons that the government may (and did) choose to pursue particular

charging theories. See, e.g., United States v. Armstrong, 517 U.S. 456, 465 (1996); Wayte v. United

States, 470 U.S. 598, 607 (1985); see also United States v. Fokker Servs. B.V., 818 F.3d 733, 741

(D.C. Cir. 2016); Nader v. Saxbe, 497 F.2d 676, 679 n.18 (D.C. Cir. 1974). Concord’s motion

does not explain how or why the government’s charging decision here “exposes the arbitrariness

of this prosecution of Concord.” Doc. 210, at 27.

       c. Concord next declares (Doc. 210, at 27; see id. at 8-10) that the apparent tension between

the scienter charged in the Indictment and certain language in two Department of Justice Manuals

(the prior version of the Federal Prosecution of Election Offenses handbook and the Criminal

Resource Manual) demonstrates some form of unconstitutional arbitrariness. The government

respectfully disagrees with Concord’s reading of this language. In fact, the Criminal Resource

Manual expressly states that “[t]he intent required for a conspiracy to defraud the government” is

that the defendant intended to defraud and to deceive the government to obtain property or disrupt

a   government      function.       Criminal     Resource    Manual      §    923,   available    at

https://www.justice.gov/jm/criminal-resource-manual-923-18-usc-371-conspiracy-defraud-us.



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Concord instead relies on a discussion of the fact that the defraud clause is distinct from the offense

clause of Section 371. That discussion quotes a decision that explains that point and uses the word

“willful.”

       In any event, the Court has rejected this argument, noting that internal Department manuals

“are not entitled to legal deference” and that “the government’s frequent litigating position” is that

willfulness is not the required scienter in a conspiracy to defraud the United States. Doc. 74, at

23. See also Doc. 56, at 29 & n.12 (listing other examples of the government’s taking that

position)); see also, e.g., Indictment ¶ 26a, United States v. Parnas, No. 19-cr-725 (S.D.N.Y.)

(Oct. 9, 2019). Even if the government has not been fully consistent in its position about the

defraud clause, it does not follow that the Due Process Clause forever compels the government to

take what it believes to be an incorrect position, and to do so in contravention of extensive case

law holding that willfulness is not required.

       d.    Concord additionally asserts (Doc. 210, at 27-28) that public statements by the

government violate due process. This Court previously concluded that certain unredacted material

in the Special Counsel’s report and public statements by the Attorney General violated Local Rule

57.7, but that these were not “flagrant,” and were a “[g]ood faith pursuit of a plausible though

mistaken alternative.” Doc. 148, at 16. Among other things, the Attorney General was trying to

comply with that rule, including through consultation with ethics experts, and was also trying to

keep the public informed of important matters. Id. at 15-17.

       Concord suggests (Doc. 210, at 27-28; see id. at 12-14) that more recent statements about

some of Concord’s conspirators—including public statements in connection with sanctions

imposed on Prigozhin and an indictment in another district—violated the Court’s subsequent order

and Concord’s due process rights. That argument fails at every turn. Initially, the statements that



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Concord points to do not violate any order of this Court. The Court’s May 29, 2019 order imposed

three conditions: (1) the parties shall abide by Local Criminal Rule 57.7(b), which restricts extra-

judicial statements of attorneys representing parties in criminal matters; (2) the government shall

“refrain from making or authorizing any public statement that links the alleged conspiracy in the

indictment to the Russian government or its agencies;” and (3) any public statements about the

allegations in the Indictment must make clear that the statement is summarizing allegations that

remain unproven and the government is not expressing an opinion on the defendants’ guilt or

innocence or the strength of the evidence in the case. Doc. 137. The recent statements cited in

Concord’s motion violate none of these conditions. Those statements were made by the Treasury

Department and the State Department, not by lawyers representing the government in this case.

Those statements did not mention the conspiracy alleged in the Indictment, which runs up to

February 2018. And those statements did not express an opinion on the allegations in the

Indictment or the strength of the evidence. Rather, the statements concerned conduct that occurred

after the filing of the Indictment in this case.

        More to the point, Concord does not connect its factual allegation to its theory of due

process. Concord does not explain how or why the statements that it identifies could reasonably

be expected to impact the trial in this case. Concord does not so much as offer a legal standard for

when statements by a government agency about other matters could warrant dismissal of a criminal

indictment. Nor does Concord engage with the Executive’s need to charge other crimes, to protect

the national security through sanctions, or to keep the public aware of ongoing criminal activity or

national security threats—a need that may persist indefinitely in this case, where some defendants

remain at large. Cf. Gilbert v. Homar, 520 U.S. 924, 930 (1997) (due process “is not a technical




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conception with a fixed content unrelated to time, place and circumstances,” but rather “calls for

such procedural protections as the particular situation demands”).

        e. Finally, Concord argues (Doc. 210, at 28-29) that due process requires dismissal of the

Indictment because the government has “treated the charges against Concord as a moving target.”

That contention fails as both a matter of fact and law. Although Concord’s recent filings have

strained to characterize the government’s theory of criminal liability as shifting or inconsistent,

the truth of the matter is that the government has consistently articulated a single theory of criminal

liability: The defendants conspired to defraud the United States by engaging in a litany of

deceptive conduct aimed, in part, at impairing the lawful government functions of the DOJ, the

FEC, and the State Department. The government has consistently maintained that the deceptive

conduct included, but was not limited to, failure to disclose in contravention of a legal duty. See,

e.g., Doc. 69 (supplemental government brief). Although the Indictment detailed the relevant

activities at issue, the bill of particulars specifically identified the categories of activity alleged in

the Indictment that required disclosure to the FEC and DOJ. Consistent with the conduct detailed

in the Indictment, the recent letter sent to defense counsel at the Court’s instruction explains that

one of the ways in which this conduct triggered FARA’s reporting requirement was by causing

individuals within the United States to act. That letter in no way “changed” the government’s

“FARA theory.” Doc. 210, at 28.

        If anyone is changing its position, it is Concord. Last year, Concord argued to the Court

that the prosecution was fatally flawed because the government could not show that the

conspirators actually violated any provision of FECA or FARA. Doc. 46, at 15, 17. This year,

Concord argues that the prosecution is fatally flawed because the government will show that the

conspirators actually violated provisions of FECA and FARA. Doc. 210, at 29. Concord was



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wrong then and it is wrong now. While a conspiracy to defraud the United States does not require

the violation of any statute or regulation, the government’s evidence will show that the

conspirators’ deceptive conduct included the failure to file required reports with the FEC and

registrations with the DOJ FARA Unit in contravention of a legal duty. In addition, as this Court

has already noted, evidence that the conspirators also violated FECA’s foreign national

independent expenditure ban would be relevant to establish the conspirators’ motive for deceiving

the FEC.

       Even more importantly, Concord again does not explain how these alleged “change[s]”

violate due process. Indeed, Concord’s contention appears to get matters exactly backward.

Concord is essentially complaining that by giving it a more detailed preview of the government’s

factual and legal theories, the government has acted arbitrarily and deprived Concord of the

process to which it is due. This is little more than a continuation of Concord’s continuing effort

to transform this case into a prosecution for violations of FARA and FECA—crimes that the

government did not charge here. And nothing about the theory of criminal liability charged in the

Indictment violates due process. See Doc. 74, at 29-31 (rejecting Concord’s due process vagueness

challenge to Count One).

       B. No Basis Exists For Reconsidering Concord’s Willfulness Argument

       Concord again contends that a conspiracy to defraud the United States requires willfulness.

Doc. 210, at 31-45. This Court has rejected this argument. Although Concord recycles many of

its prior arguments about vagueness, notice, and lenity, Concord also now claims (id. at 32-40)

that the Court must reexamine its prior holding in light of Rehaif v. United States, 139 S. Ct. 2191

(2019), and United States v. Burden, 934 F.3d 675 (D.C. Cir. 2019). Those cases have no bearing

on the question presented here.



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       Rehaif interpreted 18 U.S.C. § 924(a)(2), which makes it a crime to “knowingly violate[]”

the ban on felons and illegal aliens possessing firearms, 18 U.S.C. § 922(g). “The question,” the

Court explained, was “the scope of the word ‘knowingly,’” and whether a defendant must know

“both that he engaged in the relevant conduct (that he possessed a firearm) and also that he fell

within the relevant status (that he was a felon, an alien unlawfully in this country, or the like)?”

139 S. Ct. at 2194. The Court carefully parsed the “statutory text” and concluded that it comported

with the ordinary presumption “that Congress intends to require a defendant to possess a culpable

mental state regarding ‘each of the statutory elements that criminalize otherwise innocent

conduct.’” Id. at 2195-2197 (citation omitted). As a matter of “ordinary English grammar,” the

term “knowingly” applied “to all the subsequently listed elements of the crime,” including the

element that the defendant be a felon or an illegal alien. Id. at 2196 (citation omitted).

       Concord would apparently extract from this case a newly established rule that courts must

read willfulness requirements into statutes where none exist. But Rahaif stands for no such

proposition.   As noted, it carefully identified the elements in the statute—there the term

“knowingly.” While Rehaif concluded that the defendant must have known his legal status, that

is because the statute itself required a knowing violation, and one element was having a certain

legal status. Here, in contrast, a conspiracy to defraud requires neither any status nor knowledge

of a status. As the Court already concluded, it requires an agreement to obstruct a lawful

government function by deceitful or dishonest means, as well as an act in furtherance of that

agreement. Doc. 74, at 7 (citing United States v. Kanchanalak, 41 F. Supp. 2d 1, 9 (D.D.C. 1999),

rev’d on other grounds, 192 F.3d 1037 (D.C. Cir. 1999)); see United States v. Davis, 863 F.3d

894, 901 (D.C. Cir. 2017); United States v. Mellen, 393 F.3d 175, 180-81 (D.C. Cir. 2004)

(Roberts, J.); United States v. Treadwell, 760 F.2d 327, 333 (D.C. Cir. 1985).



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       Concord appears to argue (Doc. 210, at 30-31, 34) that Rehaif required some combination

of a willful intent when entering the conspiracy and knowledge of FECA and FARA. That is

exactly the sort of argument that the Court distinguished in Rehaif, “where a defendant has the

requisite mental state in respect to the elements of the crime but claims to be ‘unaware of the

existence of the statute proscribing his conduct.’” 139 S. Ct. at 2198 (emphasis added). In other

words, unlike Rehaif, Concord is not arguing that it cannot be held liable because it was unaware

of its status. Instead, Concord is arguing that it cannot be held liable because it was unaware of

the law regulating its conduct. That is precisely the argument that this Court has already rejected,

and that the Court took pains to distinguish in Rehaif. Indeed, Concord’s argument goes even a

step further. The government does not dispute that it must prove that one of the purposes of the

conspirators’ deceptive conduct was to interfere with lawful government functions. But Concord

would appear to seek a per se requirement that it must have known details of the statutory

provisions administered by the government to have conspired to obstruct the government functions

at all. Rehaif supports no such position. And that position finds no support in Section 371, which

prohibits conspiring to impair the government through deceptive means, rather than any particular

conduct or violation of any particular legal framework. “It is not the form of the combination or

the particular means used but the result to be achieved that the statute condemns.” American

Tobacco Co. v. United States, 328 U.S. 781, 809 (1946); see also Continental Ore Co. v. Union

Carbide & Carbon Corp., 370 U.S. 690, 707 (1962) (same). And it is an argument that this Court

has already rejected. Doc. 74, at 25 (“Concord goes too far in asserting that the Special Counsel

must also show that Concord knew with specificity ‘how the relevant laws described those

functions.’”).




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       Concord’s reliance on Burden fares no better. In Burden, the D.C. Circuit vacated a

conviction under the Arms Export Control Act, 22 U.S.C. § 2778, which “criminalizes willfully

exporting defense articles without a license.” 934 F.3d at 681. There was no dispute that the

statute by its plain language required willfulness. Id. at 689-690. Indeed, the Court explained that

“[m]ost criminal prohibitions require only proof that the crime was committed knowingly” and

that “[w]hen Congress wants to ensure that defendants will be convicted only if they have a more

culpable state of mind, it limits the crime to conduct that a defendant engages in willfully.” Id. at

690 (quotation marks omitted). The court considered what the term “willful” meant in that

particular statute and held that government “need not prove defendants knew the specific law their

conduct violated.” Id. at 692. The court also considered whether the jury instruction on willfulness

sufficiently explained to the jury that the “guilty mind” required to establish willfulness was

connected to the defendant’s violation of the Act, rather than to the defendant’s violation of foreign

law. Id. at 692-693. Given the facts of the case and the wording of the willfulness instruction,

which “required only that the defendants acted with knowledge that ‘the conduct’ was unlawful,”

the court found “some chance that the jury convicted based in part on defendants’ evasiveness in

importing to Thailand.” Id. at 693. Accordingly, the court concluded that on retrial, the jury

should be instructed that “a willfulness finding cannot draw on evidence that [the defendants] knew

the related, but legally and factually distinct, import of th[e] items into Thailand was illegal.” Id.

       Burden does not warrant revisiting the Court’s conclusion about the mental state required

to establish a conspiracy to defraud the United States. The word “willfully” appears in the text of

the statute at issue in Burden, the Arms Export Control Act, and so Burden had nothing to do with

identifying the necessary mens rea. Rather, the issue in Burden was the interaction between the

district court’s willfulness instruction and the evidence that the defendants may have had a guilty



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mind with respect to foreign law rather than with respect to the statute under which they were

charged. Those considerations do not apply here. Concord has never argued that the conspirators’

deceptive conduct arose out of concern that they might be violating Russian law. And as Burden

explains, any concerns about the jury’s evaluation of evidence related to mens rea can be addressed

through jury instructions. Nothing in Burden supports the relief that Concord seeks here—

dismissal of Count One for failure to include language that this Court has already held is not

required.

       Finally, Concord again repeats its myriad assertions about vagueness and fair notice. As

was true when Concord made these arguments in various forms, these ignore that the crime charged

here is not a violation of FECA or FARA but rather a conspiracy to impair the lawful government

functions of three government agencies through deceptive means. Concord is free to argue to the

jury that it did not enter into an agreement with the other defendants, that its object was not to

impair the lawful functions of the State Department, Justice Department, or FEC, or that none of

the contemplated conduct constituted deception aimed at the government. But if, as the Indictment

alleges, Concord knowingly conspired to impair lawful government functions through deceptive

means, then Concord committed a crime. Notwithstanding Concord’s claimed lack of fair notice,

the Court need not engraft an additional scienter requirement onto a conspiracy to defraud the

United States.

                                        CONCLUSION

       For the foregoing reasons, Concord’s renewed motion to dismiss should be denied.

                                      Respectfully submitted,


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